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                           In the United States District Court for District of Maryland
                                                   (Northern Division)
 Style Pantry LLC,                                              *
 Folake Kuye-Huntoon,                                           *
                                                    Plaintiffs. *
                                vs.                             *
 Hongkong Jigao Information & Technology                        *
 Co., Ltd, d/b/a www.chicme.com,                                *
 www.boutiquefeel.com, www.joyshoetique.com, *
   616 Corporate Way, Suite 2-5451, Valley Cottage, NY          *
   10989
                                                                *
                                                                *
 www.queenfy.com,
       3155 Elbee Rd, Moraine OH 45439                          *
                                                                *
 www.adoryme.com,                                               *
                                                                *
                                                                * Case No.: 1:18-cv-01981
 Amazon.com Inc,                                                *
    1 Centerpoint Blvd, New Castle, DE 19702                    *
                                                                *
 Amazon Technologies Inc,                                       *
 Amazon Web Services Inc                                        *
     1 Centerpoint Blvd, New Castle, DE 19702                   *
                                                                *
 PayPal Inc,                                                    *
    2145 Hamilton Ave, San Jose, CA 95125                       * DEMAND FOR JURY TRIAL
                                                                *
 Salesforce.com Inc,
    The Market @ One Market Street Ste. 300                     *
    San Francisco CA 94105                                      *
                                                                *
 Shopify Inc,                                                   *
    150 Elgin Street, 8th Floor, Ottawa,                        *
    Ontario, K2P 1L4, Canada,
                                                                *
 and                                                            *
                                                                *
 Facebook Inc, d/b/a Instagram,                                 *
    1 Hacker Way, Menlo Park, CA 94025                          *
                                                Defendants.

                             Verified Bill of Complaint
       Style Pantry LLC (hereinafter “Style Pantry”) and Folake Kuye-Huntoon (“Plaintiffs”), by and
through the undersigned attorney, bring this suit against Hongkong Jigao Information & Technology
Co.,   Ltd,   (d/b/a   as   www.chicme,     www.boutiquefeel.com,     or   www.joyshoetique.com),
www.queenfy.com, www.adoryme.com, Amazon.com Inc, Amazon Web Services Inc., Amazon
Technologies Inc, PayPal Inc, Salesforce.com Inc, Shopify Inc, and Facebook Inc for copyright

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infringement, secondary copyright infringement, unfair competition, and unjust enrichment. In
support of this Complaint, Plaintiffs state:
                                               PARTIES
    1. Plaintiff-Style Pantry LLC is a limited liability company organized and formed under the laws
        of the State of California. Ms. Folake Kuye-Huntoon is the President of Style Pantry LLC
        and unless otherwise stated, Ms. Kuye-Hunton’s actions alleged in this Complaint are on
        behalf of Plaintiff in her corporate capacity.
    2. Upon information and belief, Defendant, Hongkong Jigao Information & Technology Co.,
        Ltd, is a company organized under Hong Kong laws or United Kingdom. At all relevant times,
        Defendant conducts business in the United States through www.chicme.com (Internet
        Protocol (I.P.) Address 54.148.218.115), www.boutiquefeel.com ( I.P. Address 52.34.61.19),
        www.joyshoetique.com (I.P. Address 34.212.5.187), and several other unknown websites.
        Defendant     Amazon      Technologies     Inc    is   the   webhost   for   www.chicme.com,
        www.joyshoetique.com, www.boutiquefeel.com. In other words, Amazon Technologies Inc’s
        computers provide internet access to these websites.
    3. Defendant www.queenfy.com is an online webstore whose actual ownership and identity is
        yet to be discovered. However, upon information and belief, Salesforce.com Inc is a service
        provider and agent to www.queenfy.com. Agents of www.queenfy.com have been located at
        3155 Elbee Rd, Moraine OH 45439.                 Defendant-Shopify Inc is the webhost for
        www.queenfy.com.
    4. Defendant www.adoryme.com is an online webstore whose actual ownership is yet to be
        discovered. However, Defendant Shopify Inc is the webhost for www.queenfy.com and
        Defendant Amazon Technologies Inc. is the webhost for www.adoryme.com.
    5. Defendant(s) Hongkong Jigao Information & Technology Co., www.chicme.com,
        www.boutiquefeel.com, www.joyshoetique.com, and www.adoryme.com are hereinafter
        referred to as Class A Defendants.
    6. Defendant-Amazon.com Inc. is the owner of Amazon Technologies Inc., and Amazon Web
        Services Inc. Amazon.com Inc does business as Amazon the behemoth corporation behind
        www.amazon.com. Amazon is licensed to conduct business in the State of Maryland.
    7. Defendant, PayPal Inc., is a corporation licensed to conduct business in the State of Maryland.
        PayPal’s principal place of business is located at 2145 Hamilton Ave, San Jose CA.



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8. Defendant-Salesforce.com Inc, is a corporation licensed to conduct business in the State of
    Maryland. Salesforce.com’s principal place of business is located at The Market @ One
    Market Street Ste. 300, San Francisco CA 94105. Salesforce.com Inc is a service provider to
    www.queenfy.com.
9. Defendant-Shopify Inc is a Canadian e-Commerce company that provides hosting services to
    e-Commerce sites. Shopify’s principal place of business is located at 150 Elgin Street, 8th
    Floor, Ottawa, Ontario, K2P 1L4, Canada. Defendant-Shopify is a service provider to
    www.queenfy.com and www.adoryme.com.
10. Defendant-Facebook Inc is a corporation licensed to conduct business in the State of
    Maryland with its principal place of business located at 1 Hacker Way, Menlo Park, CA 94025
11. Defendants Amazon.com Inc, Amazon Web Services, Amazon Technologies, PayPal Inc,
    Shopify Inc, Facebook Inc, and Salesforce.com Inc are hereinafter collectively referred to as
    Class B Defendants. All the Class B Defendants are service providers to Class A Defendants.


                               JURISDICTION AND VENUE
12. This is a civil action seeking damages and injunctive relief for copyright infringement under
    the copyright laws of the United States, 17 U.S.C. § 101 et seq.
13. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 (federal question
    jurisdiction) and 28 U.S.C. § 1338(a) (jurisdiction over copyright actions).
14. This court also has subject matter jurisdiction over this action pursuant to 28 U.S.C. §1338(b)
    and 28 U.S.C. §1367(a). These claims are related to the other claims in this action over which
    the Court has original jurisdiction in that they form a part of the same case or controversy
    under Article III of the United States Constitution.
15. Venue is proper in this case pursuant to 28 U.S.C. §1391(b) and (c) and 28 U.S.C. §1400(a).


                                 FACTUAL BACKGROUND
                                    The Copyrighted Works
16. Plaintiffs owns all rights, title, and interest in and to the following images, all of which Plaintiffs
    have filed an application to register her copyrights and paid the appropriate fees with the
    application.




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  Case #                              Title                               Type of Work          Fee
                                                                                               Paid
1-6708026782   2018-02-02-One Shoulder Drape Jumpsuit Belt             Published Photographs   $55.00
1-6708026705   2018-01-29-Side Slit Crop Top High Waist Belted Pa...   Published Photographs   $55.00
1-6708026669   2018-01-25-Folded Collar Tunic Ripped White Jeans       Published Photographs   $55.00
1-6708026571   2017-12-12-Wrap Bodice Fitted Midi Dress                Published Photographs   $55.00
1-6708026435   2017-12-11 FKSP Folded Collar Jumpsuit                  Published Photographs   $55.00
1-6708026298   2017-11-16-Navy Bell Sleeve Wide Leg Jumpsuit           Published Photographs   55.00
               2017-07-10-Buttoned Shoulder Dolman Sleeve              Published Photographs   55.00
1-6706156151
               Jumpsuit
1-6681871666   2016-06-14_Off_Shoulder_Frill_Sleeves_Midi_Dress        Published Photographs   55.00
1-6681871602   2016-02-25-Frill_Sleeves_Jumpsuit                       Published Photographs   55.00


                                      Plaintiff’s Background
17. Folake Kuye Huntoon is a famous fashion blogger who runs the website blog Style Pantry and
    online fashion store ShopFKSP.com. Her refined look, feminine and full of finesse, has made
    her famous internationally. There's never a style influencer list complete without Folake Kuye-
    Huntoon’s name, the blogger, stylist and designer who is loved for her out-of-the-world styling
    and co-ordination; simple, demure and absolutely chic take on intricate pieces.
18. Style Pantry has enjoyed unlimited success. Style Pantry has been featured in ESSENCE, NY
    MAG, ZARA People, HUFFINGTON Post Style, MTV STYLE Blogger Look Of The Week,
    Clutch Magazine, Style Sample Magazine Cover Girl, The Examiner, Refinery 29 – Street
    Style, Coco & Crème, Nasty Gal, For Fashion Freaks, You Look Fab, Spaz Magazine, We
    Love Colors, Denim Therapy, Chictopia, Fashiony Ru, Denimology, Fashion Bomb Daily,
    Statements In Fashion, Fashion Gist, Quality Rivets, Bella Naija, Natural Belle, Claire’s
    Accessories, Bella Duafe, Too Cute Magazine, Everybody Is Ugly, K is For Kinky, Wonder
    Wall Stories, Amy, Are You OK?, Molton Fashion, Limited Edition, Shop Liquorice,
    Fashionably Black, Fashion Forecast – Chictopia, Ashlei Fearce, The Sweet 7, Black & White
    And Loved All Over, Annamaria Giovine Stylist, among many other magazines and fashion
    publications.
19. ESSENCE Magazine notes “Style Pantry showcases the hottest trends-it’s a hip one-stop
    shop.”                 (https://www.essence.com/galleries/black-style-now-forty-fab-fashion-
    bloggers#91371 last accessed on June 25, 2018)



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20. Following the success of Style Pantry Blog, Ms. Kuye-Huntoon established ShopFKSP.com,
    a purveyor of fine clothing and design for the up and coming chic. ShopFKSP.com is known
    for delivering stylish accessible, budget-friendly clothing and accessories for the everyday
    woman.
21. To promote Style Pantry and ShopFKSP.com, Ms. Kuye-Huntoon models her collection and
    posts pictures of herself dressed in her new and innovative designs on StylePantry.com,
    ShopFKSP.com, and her Instagram Account. Style Pantry has over five hundred and forty-
    five thousand (545,000) Instagram active followers and ShopFKSP’s Facebook page has
    received over 40,155 likes.
22. Upon information and belief, Defendant-Hongkong Jigao is the operator of
    ww.chicme.com, www.boutiquefeel.com, and www.joyshoetique.com websites where
    Defendant Hongkong Jigao sells counterfeit clothing of young American designers and
    bloggers under various tradenames and websites throughout the United States.
23. Upon information and belief, Defendants Hongkong Jigao, www.queenfy.com, and
    www.adoryme.com have developed software applications that constantly monitor
    www.stylepantry.com and www.shopfksp.com for new images of Plaintiff’s designs and
    outfits. These images are subsequently edited and reposted by Defendants on its different
    websites for counterfeit sale of Plaintiff’s design.


                                   CLAIMS FOR RELIEF
                                           Count One
        Direct Copyright Infringement Pursuant to 17 U.S.C 106 §106 and §501
                   -Against Defendant-Hongkong Jigao I.T. Co., Ltd,
      d/b/a www.chicme.com, www.boutiquefeel.com, www.joyshoetique.com;
                          -Against Defendant www.adoryme.com
                                  - Against Amazon.com Inc.
24. Plaintiffs incorporate by reference and re-allege each allegation set forth above, as though fully
    set forth herein.
25. This cause of action is against Defendant Hongkong Jigao, www.adoryme.com, and
    Amazon.com Inc.
26. On or about December 10, 2017, Plaintiffs created the FKSP Folded Collar Jumpsuit. To
    launch the new collection, Plaintiff articulated and modeled the Jumpsuit Collection in

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    photographs. A pending copyright registration is pending for 2017-12-11 FKSP Folder Collar
    Jumpsuit.
27. Defendants never sought authorization to use Plaintiffs’ copyrighted images.
28. Nonetheless, Defendants copied Plaintiff’s Copyrighted works, edited Plaintiffs’ copyrighted
    works, by cropping out Plaintiff-Kuye-Huntoon’s head from the Copyrighted Works, and then
    uploaded Plaintiff’s Copyrighted works on its websites to sell Plaintiff’s clothes and design.
    (See Exhibit 3)
29. Upon information and belief, Defendants website, ChicMe.com, advertised for sale a Self-
    Belted Wide Leg Jumpsuit. Defendant-ChicMe.com’s Self Belted Wide Leg is nearly identical
    to Plaintiff Folded Collar Jumpsuit with Plaintiff’s image on Defendant-ChicMe.com site. (See
    Exhibit 1)
30. Upon information and belief, Defendant-ChicMe advertised for sale a Lantern Sleeve Tied
    High Waist Flaired Jumpsuit. Defendant-ChicMe.com’s Lantern Sleeve Tied High Waist
    Flaired Jumpsuit is identical to Plaintiff’s Navy Bell Sleeve Wide Leg Jumpsuit with Plaintiff’s
    image on Defendant-ChicMe.com site. (See Exhibit 3)
31. Plaintiffs discovered that Defendants had reproduced, displayed, modified, and or prepared
    derivative copies of many of Plaintiff’s copyrighted work.
32. Plaintiffs immediately notified Defendant-ChicMe that it had infringed Plaintiff’s copyrighted
    works. Defendant failed to respond.
33. Notwithstanding Plaintiff’s demand, Plaintiff’s images continued to be displayed by ChicMe
    on Instagram, Google Ads, and Facebook. (See Exhibit 8)
34. Through Google Ads, Defendant’s unauthorized use of Plaintiff’s photograph is blatantly
    displayed on Plaintiff’s websites. (See Exhibit 10).
35. Notwithstanding Plaintiff’s demand for Defendant to cease and desist from using her
    photographs and Copyrighted Works, Defendant moved use of Plaintiff’s images and
    copyrighted works to www.adoryme.com. (See Exhibit 2)
36. Pursuant to 17 U.S.C. §512, Plaintiff notified Amazon, PayPal, Salesforce.com, Shopify Inc of
    Defendant’s infringement of Plaintiff’s Copyright but service providers continued to abate
    Defendant’s infringing activities. (See Exhibits 6, 7, 11, 12).
37. Attached as Exhibits 1, 2, 3,5, and 8 which are true and correct copies of the instances of
    infringement of Plaintiffs’ Copyrighted Works.
38. Plaintiff owns all rights, title and interest in and to the images and the copyrighted works.

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39. Defendant has copied, reproduced, distributed, adapted and/or publicly displayed Plaintiff’s
    images and Copyrighted Works without Plaintiff’s consent, permission, or authority, thereby
    directly infringing Plaintiff’s copyrights in the Copyrighted Works.
40. Defendant’s conduct constitutes infringement of Plaintiffs copyrights in the Copyrighted
    Works and exclusive rights to the same under the Copyright Act in violation of Section 106
    and 501 of the Copyright Act, 17 U.S.C. §§ 106 and 501.
41. Each infringement of Plaintiffs rights in and to the images and Copyrighted Works constitutes
    a separate and distinct act of infringement.
42. The foregoing acts of infringement by Defendant have been willful, intentional and
    purposeful, in disregard of and indifferent to Plaintiff’s rights.
43. As a direct and proximate result of Defendant’s infringement of Plaintiffs exclusive rights
    Plaintiff is entitled to damages as well as Defendant’s profits pursuant to 17 U.S.C. § 504(b).
44. Alternatively, Plaintiff is entitled to the maximum statutory damages pursuant to 17 U.S.C. §
    504(c), or for such other amount as may be proper pursuant to 17 U.S.C. § 504(c).
45. Plaintiff is further entitled to its attorneys’ fees and full costs pursuant to 17 U.S.C. § 505.
46. Defendant’s conduct is causing, and unless enjoined and restrained by this Court will continue
    to cause, irreparable injury that cannot be fully compensated in money. Pursuant to 17 U.S.C.
    § 502, Plaintiff is entitled to injunctive relief prohibiting further infringements of its copyrights
    in the Copyrighted Works and images.


                                           Count Two
                      Unfair Competition Through Misappropriation
                   (-Against Defendant-Hongkong Jigao I.T. Co., Ltd,
      d/b/a www.chicme.com, www.boutiquefeel.com, www.joyshoetique.com;
                          -Against Defendant -www.queenfy.com;
                          -Against Defendant www.adoryme.com
                                       - Amazon.com Inc
47. Plaintiff incorporates by reference the allegations of the preceding and subsequent paragraphs
    of this Complaint as if fully set forth in this Count.
48. This cause of action applies to Defendant Hongkong Jigao (and all its websites),
    www.queenfy.com, www.adoryme.com, and Amazon.com Inc.



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49. Plaintiff has made a substantial investment of time, effort and money in creating the
   Copyrighted Works, Style Pantry Blog, ShopFKSP.com website, and Marketing Materials.
50. Plaintiff uses the images and Copyrighted Works to promote and sell its products.
51. Plaintiffs Copyrighted Works, Plaintiff’s images, Style Pantry Blog, ShopFKSP website, and
   Marketing Materials are and have been an essential element in convincing customers to
   purchase Plaintiff’s products.
52. Defendants directly competes with Plaintiff by selling and marketing similar products.
53. Defendants has willfully and intentionally misappropriated Plaintiff’s property and property
   rights by intentionally and willfully copying, reproducing, distributing, adapting and/or
   publicly displaying and passing off, Plaintiff’s images and Copyrighted Works, as that of
   Defendant’s, with the intent of creating confusion and misunderstanding as to the source of
   the material.
54. Without Plaintiff’s consent, Defendant has misappropriated Plaintiff’s images and
   Copyrighted Works, and Marketing Materials and used them in Defendant’s Marketing
   Materials to avoid the substantial time and expense required to create similar materials on its
   own.
55. Defendant has used the misappropriated property to directly compete against Plaintiff for
   customers.
56. As a result of Defendant’s misappropriation, copyright infringement, and other acts of unfair
   competition, Plaintiff has suffered and continues to suffer severe economic injury, including
   lost sales, lost profits, and other compensatory damages in an amount to be determined at
   trial.
57. Defendant’s conduct is causing and, unless enjoined and restrained by this Court, will continue
   to cause irreparable injury, including, but not limited to, the confusion of Plaintiff’s products
   with Defendant’s products, that cannot be fully compensated in money. Plaintiff has no
   adequate remedy at law. Plaintiff is entitled to injunctive relief prohibiting the above-described
   wrongful acts.
58. Defendant’s above-described unlawful acts were willful, in disregard of, and with indifference
   to the rights of Plaintiff. Plaintiff is thus entitled to punitive damages in an amount to be
   proven at trial.




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                                        Count Three
                                    Unjust Enrichment
                  (-Against Defendant-Hongkong Jigao I.T. Co., Ltd,
      d/b/a www.chicme.com, www.boutiquefeel.com, www.joyshoetique.com;
                          -Against Defendant www.queenfy.com;
                          -Against Defendant www.adoryme.com
                                -Against Amazon.com Inc.
59. Plaintiff incorporates by reference the allegations of the preceding paragraphs as if fully set
   forth in this Count.
60. This cause of action applies to Hongkong Jigao, www.queenfy.com, www.adoryme.com, and
   Amazon.com Inc.
61. Without Plaintiffs’ consent, Defendant has received and continues to receive a benefit through
   Defendant’s unauthorized use of Plaintiffs images, photographs, and Copyrighted Works.
62. Defendant has received and continues to receive an unjust benefit from its unauthorized use
   of Plaintiffs property to promote Defendant’s competing products to the detriment of
   Plaintiff.
63. Defendant has knowingly appreciated the benefit of its unauthorized use of Plaintiff’s images
   and Copyrighted Works.
64. Allowing Defendant to retain the unjust benefit derived from its tortious unfair competition,
   copyright infringement, and misappropriation of property, without payment of commensurate
   value to Plaintiff, would violate the fundamental principles of justice, equity and good
   conscience.
65. Accordingly, any such enrichment is unjust and should, in equity, be returned to Plaintiff.
66. As a direct and proximate result of Defendant’s unlawful use of Plaintiff’s property and
   property rights, Plaintiff has been irreparably harmed and Defendant has been unjustly
   enriched at Plaintiff’s expense. Accordingly, Plaintiff is entitled to an order requiring
   Defendant to disgorge any and all such profits to Plaintiff.


                                         Count Four
                            Secondary Copyright Infringement
    (-Against Amazon Technologies Inc, Amazon Web Services Inc, PayPal Inc,
                     Salesforce.com Inc, Shopify Inc, Facebook Inc)

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67. Plaintiff incorporates by reference all preceding allegations of this Complaint.
68. Defendants are service providers to the co-defendants as stated below:
       Defendant                            Website                     Service Provider for
                                                                           Co-Defendant
Amazon Technologies Inc               www.amazon.com                     www.chicme.com
Amazon Web Services Inc           https://aws.amazon.com/              www.joyshoetique.com
                                                                       www.boutiquefeel.com
       PayPal Inc                                                        www.chicme.com
                                                                       www.joyshoetique.com
                                                                       www.boutiquefeel.com
                                                                         www.queenfy.com
                                                                        www.adoryme.com
   Salesforce.com Inc                                                    www.queenfy.com
  Facebook/Instagram                                                     www.chicme.com

69. Defendants do not qualify for “safe harbor” under the 17 U.S.C. Section 512 (“DMCA”).
70. Plaintiff’s copyrights are directly infringed each time the Class A Defendants upload Plaintiff’s
    images and photographs without authorization onto and through the Class B Defendant’s
    system.
71. By providing the site and facilities necessary for its subscribers-Class A Defendants, to commit
    direct copyright infringement, by providing access to the Internet and the pipes, system, and
    technology that allows for the storage and transmission of data, and by failing to terminate
    known repeat infringers, these Class B Defendants have and continue to materially contribute
    to the unauthorized reproductions and distributions by its subscribers, Class A Defendants,
    of the Copyrighted Works.
72. Through Plaintiffs’ attorney, each Class B Defendant has repeatedly been provided with actual
    knowledge of the direct infringements occurring through its system.
73. In the case of repeat infringers, Plaintiffs, through their attorney, have forwarded additional
    notices to Class B Defendants, requesting that it terminate the subscribers’ or account holders’
    accounts. Further, Plaintiffs, through their attorney, have provided Class B Defendants with
    a log of the repeat infringement. The Class B Defendants have refused to suspend or
    terminate services to the Class A Defendants or to otherwise act effectively in response to
    these notices.
74. The Class B Defendants have not acted reasonably or in good faith in response to Plaintiffs’
    notices of infringement and repeat infringement.


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75. The Class B Defendants’ acts of infringement have been willful, intentional, and purposeful,
    in disregard of and indifference to Plaintiffs’ rights.
76. As a direct and proximate result of Class B Defendants’ infringements of Plaintiffs’ copyrights
    and exclusive rights under copyright, Plaintiffs are entitled to damages and Class B
    Defendant’s profits pursuant to 17 U.S.C. § 504(b) for each infringement.
77. Alternatively, Plaintiffs are entitled to the maximum statutory damages, pursuant to 17 U.S.C.
    § 504(c), in the amount of $150,000 with respect to each work infringed, or such other
    amounts as may be proper under 17 U.S.C. § 504(c).
78. Plaintiffs further are entitled to their attorneys’ fees and full costs pursuant to 17 U.S.C. § 505.
79. The Class B Defendants’ conduct are causing and, unless enjoined and restrained by this
    Court, will continue to cause Plaintiffs great and irreparable injury that cannot fully be
    compensated or measured in money. Plaintiff has no adequate remedy at law. Pursuant to 17
    U.S.C. § 502, Plaintiff is entitled to injunctive relief prohibiting further contributory
    infringements of Plaintiff’s copyrights.


                                           Count Five
                             Vicarious Copyright Infringement
     (-Against Amazon Technologies Inc, Amazon Web Services Inc, PayPal Inc,
                      Salesforce.com Inc, Shopify Inc, Facebook Inc)
80. Plaintiff incorporates by reference all preceding allegations of this Complaint.
81. These Class B Defendants have, and continue to have, the right and ability to supervise and/or
    control the infringing conduct of its subscribers, Class A Defendants, through its agreements
    and without limitation, blocking access to its subscribers, Class A Defendants, or terminating
    the accounts of Class A Defendants who engage in infringing activity.
82. But these Class B Defendants have failed to exercise such supervision and/or control. As a
    direct and proximate result of such failure, the Class A Defendants have repeatedly infringed
    and will continue to repeatedly infringe Plaintiffs’ Copyrighted Works on a massive scale.
83. The Class B Defendants derived (and continue to derive) substantial and direct financial
    benefit from the infringements of Plaintiff’s Copyrighted Works in the form of continued
    monthly subscription payments.




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   84. These Class B Defendants have not acted reasonably or in good faith in response to Plaintiffs’
       notices of infringement and repeat infringement. Their acts of infringement have been willful,
       intentional, and purposeful, in disregard of and indifference to Plaintiffs’ rights.
   85. As a direct and proximate result of Class B Defendants’ vicarious infringements of Plaintiffs’
       copyrights and exclusive rights under copyright, Plaintiffs are entitled to damages and
       individual and respective profits of these Class B Defendant’s pursuant to 17 U.S.C. § 504(b)
       for each infringement.
   86. Alternatively, Plaintiffs are entitled to the maximum statutory damages, pursuant to 17 U.S.C.
       § 504(c), in the amount of $150,000 with respect to each work infringed, or such other
       amounts as may be proper under 17 U.S.C. § 504(c).
   87. Plaintiffs further are entitled to their attorneys’ fees and full costs pursuant to 17 U.S.C. § 505.
   88. The individual and respective conduct of each Class B Defendant is causing and, unless
       enjoined and restrained by this Court, will continue to cause Plaintiffs great and irreparable
       injury that cannot fully be compensated or measured in money. Plaintiff has no adequate
       remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiffs are entitled to injunctive relief prohibiting
       further contributory infringements of Plaintiff’s Copyrighted Work.
       WHEREFORE, Plaintiffs demands judgement against Amazon.com Inc in the excess of
Five Hundred Thousand Dollars ($500,000.00) in compensatory damages with interest and costs.


                                               Count Six
                   Invasion of Privacy – Appropriation of Name or Likeness
                                    (-Against Amazon.com Inc.)
                                   (- Against www.queenfy.com)
                      (-Against Defendant-Hongkong Jigao I.T. Co., Ltd)
   89. Plaintiff incorporates by reference all preceding allegations of this Complaint.
   90. This cause of action applies to Defendants Hongkong Jigao, Amazon.com, and
       www.queenfy.com.
   91. Defendant published and/or displays, for its commercial interest photographs of Ms. Folake
       Kuye-Huntoon on its website.
   92. The Plaintiff’s image was displayed for the purpose of advertising the merchandise sold by
       Defendant(s) and to promote trade of the merchandise of Defendants.



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    93. Plaintiff’s name and photographs are printed and displayed on the website of Defendant. The
        use of Plaintiff’s name and photograph by Defendant was exclusively for advertising
        merchandise sold by Defendants and to promote trade of merchandise of Defendants. Copies
        of the photographs displayed on Defendant’s website are attached hereto as Exhibit 9 for
        Amazon, Exhibit 13 for Queenfy, and Exhibits 1, 2, 3, 5, 8, and 10 for Hongkong Jigao.
    94. Defendant never obtained oral or written consent for the use of Plaintiff’s name and
        photographs for its commercial purposes and Plaintiff has never given such oral or written
        consent to anyone to use her name on a Defendant’s products and merchandise.
    95. As a result of Defendant’s appropriation use and exploitation of Plaintiffs name and
        photographs for its commercial benefit without Plaintiff or Plaintiffs’ consent, Plaintiff has
        suffered damages.
        WHEREFORE, Plaintiffs demands judgement against Defendants individually and
respectively in the excess of Seventy-Five Thousand Dollars ($75,000.00) in compensatory damages
with interest and costs.


                                             Count Seven
              Direct Copyright Infringement Pursuant to 17 U.S.C §106 and §501
                                     - Against Amazon.com Inc.
    96. Plaintiffs incorporate by reference and re-allege each allegation set forth above, as though fully
        set forth herein.
    97. This cause of action is against Amazon.com Inc.
    98. On or about December 10, 2017, Plaintiffs created the FKSP Folded Collar Jumpsuit. To
        launch the new collection, Plaintiff articulated and modeled the Jumpsuit Collection in
        photographs. A pending copyright registration is pending for 2017-12-11 FKSP Folder Collar
        Jumpsuit.
    99. On or about July 10, 2018, Plaintiff launched the Buttoned Shoulder Dolman Sleeve Jumpsuit
        Collection. To launch the new collection, Plaintiff articulated and modelled the Jumpsuit
        Collection in photographs where was subsequently posted on www.stylepantry.com. A
        pending copyright registration is pending for the Buttoned Shoulder Dolman Sleeve Jumpsuit
        Collection.




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100.         Amazon.com never sought authorization to use Plaintiffs’ images or reproduce
   Plaintiff’s Copyrighted works. Neither did Amazon.com receive any license to sell Plaintiff’s
   product.
101.         Upon information and belief, Amazon.com lists for sale a Mojessy Women’ With Belt
   for $29.99. Amazon.com’s Mojessy Women’ With Belt is identical to Plaintiffs’ Folded Collar
   Jumpsuit with Plaintiff’s image on Amazon.com’s Mojessy Women’ With Belt Product Page.
   (See Exhibit 9)
102.         Upon information and belief, Amazon.com Inc lists for sale a Mintsnow Womens
   Sexy One for sale between $23.99 - $26.99. Amazon.com’s Mintsnow Womens Sexy One is
   identical to Plaintiff’s Navy Bell Sleeve Wide Leg Jumpsuit with Plaintiff’s image on the
   product. (See Exhibit 9)
103.         Plaintiffs discovered that Amazon.com reproduced, displayed, modified, and or
   prepared derivative copies of Plaintiff’s copyrighted work.
104.         Attached as Exhibits 9 are true and correct copies of the instances of infringement of
   Plaintiffs’ Copyrighted Works.
105.         Plaintiff owns all rights, title and interest in and to the images and the copyrighted
   works.
106.         Amazon.com has copied, reproduced, distributed, adapted and/or publicly displayed
   Plaintiff’s images and Copyrighted Works without Plaintiff’s consent, permission, or authority,
   thereby directly infringing Plaintiff’s copyrights in the Copyrighted Works.
107.         Amazon.com’s conduct constitutes infringement of Plaintiffs copyrights in the
   Copyrighted Works and exclusive rights to the same under the Copyright Act in violation of
   Section 106 and 501 of the Copyright Act, 17 U.S.C. §§ 106 and 501.
108.         Each infringement of Plaintiffs rights in and to the images and Copyrighted Works
   constitutes a separate and distinct act of infringement.
109.         The foregoing acts of infringement by Amazon.com have been willful, intentional and
   purposeful, in disregard of and indifferent to Plaintiff’s rights.
110.         As a direct and proximate result of Amazon.com’s infringement of Plaintiffs exclusive
   rights Plaintiff is entitled to damages as well as Amazon.com’s profits pursuant to 17 U.S.C. §
   504(b).
111.         Alternatively, Plaintiff is entitled to the maximum statutory damages pursuant to 17
   U.S.C. § 504(c), or for such other amount as may be proper pursuant to 17 U.S.C. § 504(c).

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    112.        Plaintiff is further entitled to its attorneys’ fees and full costs pursuant to 17 U.S.C. §
        505.
    113.        Defendant’s conduct is causing, and unless enjoined and restrained by this Court will
        continue to cause, irreparable injury that cannot be fully compensated in money. Pursuant to
        17 U.S.C. § 502, Plaintiff is entitled to injunctive relief prohibiting further infringements of its
        copyrights in the Copyrighted Works and images.


        WHEREFORE, Plaintiffs demands judgement against Amazon.com Inc in the excess of
Five Hundred Thousand Dollars ($500,000.00) in compensatory damages with interest and costs.


                                       PRAYER FOR RELIEF
        WHEREFORE, Plaintiff prays for relief as follows:
Plaintiffs respectfully requests that the Court declare that Defendants’ use of Plaintiffs’ copyrighted
works and images constitutes infringement.
Specifically, Plaintiffs request that the Court:
    A. On Counts One and Two, provide Injunctive Relief as follows:
            1. For an Order that Defendant, its officers, directors, agents, servants, partners,
                employees, attorneys, licensees, assigns, and all persons acting for, with, by, through
                or in concert with it be enjoined preliminarily and permanently from:
                     a. copying, reproducing, distributing, adapting and/or publicly displaying
                         Plaintiff’s Image, Photograph, and Copyrighted Works;
                    b. infringing Plaintiff’s copyrights in each of the Copyrighted Works;
                     c. advertising, marketing, promoting, offering for sale, or selling any goods or
                         services that infringe Plaintiff’s Copyrighted Works; and
                    d. unfairly competing with Plaintiff in any manner.
            2. That Defendant be required to deliver up to Plaintiff for destruction any product,
                packaging, literature, catalogs, signs, advertising material, plant tags, posters, brochures
                and the like, or any confusingly similar variation thereof, including any of Plaintiff’s
                images and the Copyrighted Works;
            3. That Defendant, within thirty days after service of judgment with notice of entry
                thereof upon it, be required to file with the Court and serve upon Plaintiff’s attorney



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           a written report, under oath, setting forth in detail the manner in which Defendant has
           complied with Paragraphs 1 and 2 above.
B. As to Count One for Copyright Infringement:
       1. Maximum statutory damages pursuant to 17 U.S.C. § 504(c), or for such other amount
           as may be proper pursuant to 17 U.S.C. § 504(c).
       2. Plaintiff’s damages and Defendant’s profits pursuant to 17 U.S.C. § 504(b), in such
           amount as may be proven at trial.
       3. That Plaintiffs be awarded its reasonable costs and attorney’s fees.
       4. That Plaintiffs be awarded prejudgment interest.
       5. That Plaintiffs have such other and further relief as the Court may deem equitable.
C. As to Count Two for Common Law Unfair Competition:
       1. That Defendants be required to account for and pay to Plaintiff its profits and the
           cumulative damages sustained by Plaintiffs by reason of Defendants’ unlawful conduct
           herein alleged.
       2. That Plaintiffs be awarded punitive damages.
       3. That Plaintiffs have such other and further relief as the Court may deem equitable.
D. As to Count Three for Relief for Unjust Enrichment:
       1. That the Court order disgorgement and/or restitution of Defendants’ profits to
           Plaintiffs.
       2. That Plaintiffs have such other and further relief as the Court may deem equitable.
E. On all other counts:
       1. For entry of judgment against Defendants for all damages to which Plaintiffs may be
           entitled, including Defendants’ profits and for damages in an amount as may be proven
           at trial. Alternatively, at Plaintiffs’ election, for the maximum statutory damages
           amount allowed by law for all individual copyright infringements involved in this
           action with respect to any one work, or for such other amount as may be proper
           pursuant to 17 U.S.C. § 504(c);
       2. For a permanent injunction enjoining Defendants and their respective officers, agents,
           servants, employees, attorneys, successors, licensees, partners, and assigns, and all
           persons acting in concert or participation with each or any of them, from (a) directly
           or indirectly infringing in any manner any of Plaintiffs’ respective copyrights or other
           exclusive rights (whether now in existence or hereafter created), including without

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